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                          UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


IN RE NATIONAL PRESCRIPTION                 MDL No. 2804
OPIATE LITIGATION
                                            Case No. 17-MD-2804
This document relates to:
                                            Judge Dan Aaron Polster
TRACK ONE CASES




                   WALGREENS’ MOTION FOR RECONSIDERATION
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       Walgreens seeks reconsideration of the Court’s November 21, 2018 Order, in which it

directed the pharmacies to respond to plaintiffs’ “Combined Discovery Requests” just nine days

later, on November 30. (See Doc. 1147 ¶ 1.)1 Walgreens has worked hard to produce the

documents responsive to those requests—and has been doing so for months—to the extent

possible on the Court’s tight schedule and in light of discovery rulings calling for documents

going back more than a decade.2 But it is not feasible to provide complete responses to the

narrative portions of these requests in the compressed timeframe contemplated by the Court’s

order. More time is needed to respond to the interrogatory portions of these requests.

       The need for additional time is driven by the procedural history behind this discovery,

which the pharmacies were not given the opportunity to present to the Court at the hearing on

November 20. Indeed, plaintiffs provided no notice to the Court or the pharmacies that they

planned to raise these discovery requests at that hearing. In addition, there is no transcript

because the Court closed the hearing and denied the request that it be on the record. However,

the pharmacies understood from the Court’s remarks—expressly excluding the pharmacies from

its order—that it recognized the “Combined Discovery Requests” raised different issues for the

pharmacies than it did for other defendants because of the particular procedural posture as to the

pharmacies. The pharmacies also understood the Court to have directed the parties to raise the

pharmacy-specific issues with these requests with the Special Master separately, and to have

granted plaintiffs’ request to present those issues to the Special Master this week.



1
 Although situated differently because of the nature of their productions, Rite Aid and Walmart
nevertheless join in the recitation of the procedural history, including the recounting of the
November 20 hearing, and in the objection to the method and timing by which the pharmacies
have been required to respond to these requests.
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 For example, Walgreens has produced over 5,000 Suspicious Control Drug Orders (i.e.
Suspicious Order Reports) for the Track One jurisdictions.
                                                      1
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       The full record regarding the relevant procedural history includes these facts:

       •   Plaintiffs’ “Combined Discovery Requests” exceeded the number of discovery
           requests they were permitted to serve on the pharmacy defendants under the Court’s
           Case Management Order No. 1. Therefore, Rite Aid and Walmart both informed
           plaintiffs that, to the extent the “Combined Discovery Requests” represented new
           and/or additional requests, they would not be responding to them. See Ex. A, 7/13/18
           Rite Aid Email; Ex. B, 8/2/18 Walmart Email. Plaintiffs did not contest that position
           in any subsequent communications.

       •   To the contrary, plaintiffs told the pharmacies that the “Combined Discovery
           Requests” were not new requests but were intended to “tailor” their prior discovery
           requests. Indeed, on July 18, 2018, plaintiffs’ counsel expressly told counsel for
           Walgreens that they “don’t consider them to be additional written discovery that
           requires a response.” Ex. C, 7/18/18 Badala Email.

       •   On July 30, 2018, the Special Master sent an email to the parties regarding the
           “Combined Discovery Requests,” advising as follows: “As much as possible,
           defendants should read Plaintiffs ‘additional requests’ as prioritizations of existing
           requests – that is, as a request for production of certain documents first.” Ex. D,
           7/30/18 SM Cohen Ruling (emphasis in original).

       •   On August 17, 2018, Walgreens advised plaintiffs that it would treat the “Combined
           Discovery Requests” as the Special Master had advised the parties to treat them: as
           efforts to prioritize existing requests, but not as unauthorized new requests that
           required separate answers. See Ex. E, 8/17/18 Walgreens Email.

       •   At no time during the many meet-and-confer emails and discussions relating to
           discovery responses that took place over the ensuing four months did plaintiffs ever
           express any disagreement with this approach.

       Despite their own prior agreement that these “Combined Discovery Requests” did not

require separate responses—and despite months of silence on the topic if they had changed their

view—plaintiffs nevertheless obtained an order last week, after minimal argument and no prior

notice, in a closed court proceeding, that the “Combined Discovery Requests” actually do require

separate responses after all. Moreover, the pharmacies were ordered to respond within 10

calendar days, a time span that included the Thanksgiving holiday weekend.




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       The Court may have assumed that responding was merely a matter of confirming that

documents responsive to the requests (as narrowed by subsequent orders on the proper scope of

discovery at this stage of the proceedings) had been produced. If that were the case, the burden

might not have been so great. But on their face, that is not all the “Combined Discovery

Requests” require. The requests also include detailed interrogatories that go much further than

anything that can reasonably be accomplished in a matter of just a few days.

       To begin with, the requests call not merely for the production of documents, but also for

the production of lists of Bates numbers for every responsive document. See generally Ex. F,

Combined Discovery Requests. It is no trivial task to do so with any degree of accuracy.

       Beyond providing Bates numbers, Combined Request No. 3 asks the parties not just to

identify “each suspicious order” over a twelve-year period but also to “describe” each and every

one of those orders. Id. No plaintiff has ever explained what exactly such a description might

entail (the requests contain no instructions or definitions), but the task threatens to be significant,

to say the least. Combined Request No. 5 then demands that the parties “describe in as much

detail as possible the reasons” for any one of those “suspicious orders” that was not reported to

the DEA. Id. Request No. 6 involves a different time-consuming research project: to determine

on an order-by-order basis whether each of the “suspicious orders” reported to the DEA over a

twelve-year period was declined or shipped.

       None of this was before the Court at the November 20 hearing. The Court heard only

brief argument and did not have the actual “Combined Discovery Requests” before it.

       Under the circumstances, if the Court intended to order responses to the interrogatory

portions of the “Combined Discovery Requests,” those responses require the full 30 days allotted

under the Federal Rules. See Fed. R. Civ. P. 33(b)(2). There is no reason why the response time



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should be so severely truncated here, in a massive litigation of great public interest. If there is

any urgency at all, it is entirely the result of plaintiffs’ earlier statement that they did not expect

separate responses to these “prioritizing” requests, followed by their decision to remain silent on

the point for four months rather than raising the issue at any one of the many discovery hearings

that have been convened on an almost weekly basis since.

        Accordingly, Walgreens requests that it be permitted until December 21, 2018 to respond

to the interrogatory portions of plaintiffs’ “Combined Discovery Requests.”




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Dated: November 30, 2018               Respectfully submitted,


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                                   CERTIFICATE OF SERVICE

        I hereby certify that this 30th day of November 2018, I electronically filed a copy of the

foregoing with the Clerk of the Court using the ECF system, which sent notification of such

filing to all counsel of record.



                                                   /s/ Kaspar J. Stoffelmayr
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                                                   Eastern Co.
